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11   Institute for Fisheries Resources

12
                               UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14
     PACIFIC COAST FEDERATION OF                      Case No. 1:20-cv-00431-DAD-EPG
15
     FISHERMEN’S ASSOCIATIONS, et al.,
                                                      PLAINTIFFS’ NOTICE OF MOTION AND
16
                       Plaintiffs,                    MOTION TO STRIKE DECLARATIONS
                                                      FILED BY INTERVENORS REGARDING
17
              v.                                      ECONOMIC HARM; MEMORANDUM OF
                                                      POINTS AND AUTHORITIES IN
18
     GINA RAIMONDO, in her official                   SUPPORT THEREOF
     capacity as Secretary of Commerce, et al.,
19
                                                      Hearing date: February 22, 2022*
                       Defendants.                    Judge: Hon. Dale A. Drozd
20
                                                      Courtroom 5, 7th Floor
21
                                                      2500 Tulare Street
                                                      Fresno, California 93721
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27   * Pursuant to General Order No. 618 and this Court’s prior minute orders, all civil motions will be
     decided on the papers unless otherwise ordered by the Court. In light of these orders, and
28   because filers are required to select a hearing date when filing a motion using the ECF system,
     Plaintiffs have noticed this motion for hearing on February 22, consistent with Local Rule 230(b).
                        PLS.’ NOTICE OF MOTION AND MOTION TO STRIKE; MEM. OF POINTS & AUTH.
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 1             TO ALL PARTIES AND TO COUNSEL OF RECORD:

 2             PLEASE TAKE NOTICE that Plaintiffs Pacific Coast Federation of Fishermen’s

 3   Associations, Institute for Fisheries Resources, Golden State Salmon Association, Natural

 4   Resources Defense Council, Inc., Defenders of Wildlife, and Bay.Org d/b/a The Bay Institute

 5   (collectively, “Plaintiffs”), by and through their undersigned counsel, will, and hereby do, move to

 6   strike certain declarations and portions of declarations submitted by Intervenors in support of their

 7   opposition to Plaintiffs’ Motion for Preliminary Injunction for 2022, and references to those

 8   declarations in Intervenors’ opposition brief, as follows:

 9      1. The entirety of the Declaration of John Dickey (Dkt. 335).

10      2. The entirety of the Declaration of Erik Wilson (Dkt. 336).

11      3. The entirety of the Declaration of Baldomero Hernandez (Dkt. 345).

12      4. Declaration of Jose Gutierrez (Dkt. 346) ¶¶8–13.

13      5. Declaration of Anthea Hansen (Dkt. 347) ¶¶7, 9.

14      6. The entirety of the Declaration of the City of San Joaquin Mayor Julia Hernandez (Dkt.

15             348).

16      7. The entirety of the Declaration of James L. Jasper (Dkt. 349).

17      8. The entirety of the Declaration of Martin Macias (Dkt. 350).

18      9. The entirety of the Declaration of Natalie Caples (Dkt. 351).

19      10. Declaration of Lon M. Martin (Dkt. 352) ¶¶5–6, 8, 10–13 & Exh. A (Dkt. 352-1).

20      11. Declaration of Cindy Kao (Dkt. 353) ¶24.

21      12. The entirety of the Declaration of Dr. Michael A. Shires (Dkt. 355).

22      13. Declaration of William Diedrich (Dkt. 357) ¶¶6–11, 13.

23      14. Declaration of Ian Buck-MacLeod (Dkt. 359) ¶¶12–13.

24      15. Section III.B of Intervenors’ opposition brief, page 27 line 1 to page 28 line 13 (Dkt. 344).

25             This motion is based on this notice of motion, the memorandum of points and authorities in

26   support of the motion, and any argument or evidence that may be presented to the Court prior to its

27   ruling.

28
                          PLS.’ NOTICE OF MOTION AND MOTION TO STRIKE; MEM. OF POINTS & AUTH.
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 1
                                            Respectfully submitted,
 2

 3   Dated: January 24, 2022                 /s/ Barbara J. Chisholm               .

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10                                          Inc., Defenders of Wildlife, and Bay.Org d/b/a The
                                            Bay Institute
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12   Dated: January 24, 2022                 /s/ Glen H. Spain                         .

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                                            Resources
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                      PLS.’ NOTICE OF MOTION AND MOTION TO STRIKE; MEM. OF POINTS & AUTH.
                                              2              CASE NO. 1:20-CV-00431-DAD-EPG
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 1               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
 2         PLAINTIFFS’ MOTION TO STRIKE DECLARATIONS FILED BY INTERVENORS

 3                                   REGARDING ECONOMIC HARM

 4           This Court should strike evidence and arguments offered by Intervenors regarding claimed

 5   economic costs associated with the injunctive relief requested by Plaintiffs to remedy violations of

 6   Section 7(a) of the Endangered Species Act (“ESA”), 16 U.S.C. §1536(a). The costs alleged by the

 7   myriad of Intervenors’ declarants include the economic impact of reductions in water exports or

 8   deliveries, but these costs are not relevant and not properly considered in assessing whether a

 9   preliminary injunction is necessary to ensure the continued survival and recovery of ESA-listed

10   species in the Bay-Delta. Accordingly, Plaintiffs ask the Court to strike eight declarations in their

11   entirety1; portions of six other declarations 2; and the portion of Intervenors’ opposition brief that

12   relies on these declarations or portions of declarations. 3 All of the materials Plaintiffs seek to strike

13   exclusively discuss increased costs and other supposed economic harms associated with the

14   injunctive relief proposed to address ESA violations.

15           The Supreme Court and the Ninth Circuit have repeatedly held that, because “Congress has

16   determined that under the ESA the balance of hardships always tips sharply in favor of endangered

17   or threatened species,” courts considering and issuing injunctive relief under Section 7(a) of the

18   ESA do not have the discretion to consider countervailing allegations of economic costs. Nat’l

19   Wildlife Fed’n v. Nat’l Marine Fish. Serv., 422 F.3d 782, 794 (9th Cir. 2005) (quoting Marbled

20   Murrelet v. Babbitt, 83 F.3d 1068, 1073 (9th Cir. 1996)); Tenn. Valley Auth. v. Hill, 437 U.S. 153,

21   184 (1978). Evidence regarding the economic consequences of an injunction to address an ESA

22   violation is simply not cognizable by this Court. As such, that evidence is irrelevant and

23   inadmissible under the Federal Rules of Evidence. See Fed. R. Evid. 402.

24   1
       Declaration of John Dickey (Dkt. 335); Declaration of Erik Wilson (Dkt. 336); Declaration of
     Baldomero Hernandez (Dkt. 345); Declaration of the City of San Joaquin Mayor Julia Hernandez
25   (Dkt. 348); Declaration of James L. Jasper (Dkt. 349); Declaration of Martin Macias (Dkt. 350);
     Declaration of Natalie Caples (Dkt. 351); Declaration of Dr. Michael A. Shires (Dkt. 355).
26   2
       Declaration of Jose Gutierrez (Dkt. 346), ¶¶8–13; Declaration of Anthea Hansen (Dkt. 347), ¶¶7,
27   9; Declaration of Lon M. Martin (Dkt. 352), ¶¶5–6, 8, 10–13 & Exh. A (Dkt. 325-1); Declaration
     of Cindy Kao (Dkt. 353), ¶24; Declaration of William Diedrich (Dkt. 357), ¶¶6–11, 13;
28   Declaration of Ian Buck-MacLeod (Dkt. 359), ¶¶12–13.
     3
       Section III.B of Intervenors’ opposition brief (Dkt. 344), page 27 line 1 to page 28 line 13.
                          PLS.’ NOTICE OF MOTION AND MOTION TO STRIKE; MEM. OF POINTS & AUTH.
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 1           The relevance of economic harm to an injunction under the ESA was squarely addressed

 2   by the Supreme Court in Tennessee Valley Authority v. Hill, a case with parallels to this litigation.

 3   437 U.S. 153. There, conservation groups sued to enjoin the completion of the Tellico Dam. The

 4   dam would have provided electricity to 20,000 homes, flood control, recreational opportunities, and

 5   improved economic conditions to “‘an area characterized by underutilization of human resources

 6   and outmigration of young people.’” Id. at 157. Unfortunately, completion of the dam would also

 7   have adversely modified the critical habitat of the snail darter, a three-inch species of perch. Id. at

 8   158–59, 164–65. Even though saving these snail darters “would require the permanent halting of a

 9   virtually completed dam for which Congress ha[d] expended more than $100 million,” id. at 172,

10   the Supreme Court held that such costs—and the lost public benefits of a completed dam—should

11   not be considered in evaluating the need for an injunction. Id. at 184 (“The plain intent of Congress

12   in enacting this statute was to halt and reverse the trend toward species extinction, whatever the

13   cost.”); id. at 187–88 (holding that because Congress viewed the value of endangered species as

14   incalculable, “it would be difficult for a court to balance the loss of a sum certain—even $100

15   million—against a congressionally declared ‘incalculable’ value, even assuming we had the power

16   to engage in such a weighing process, which we emphatically do not” (emphasis added)). The

17   Ninth Circuit has recognized and applied this rule faithfully. For instance, in 2005, the Ninth

18   Circuit upheld a district court’s refusal to consider evidence of economic harm in the context of a

19   motion for preliminary injunction under the ESA, holding that:

20           Given this clear authority, we must at the onset reject the argument of the federal
             appellants that the district court erred as a matter of law by failing to conduct a
21           traditional preliminary injunction analysis and, in particular, by failing to weigh
             economic harm to the public in reaching its conclusion. As the Supreme Court has
22           instructed, such an analysis does not apply to ESA cases because Congress has
             already struck the balance . . . . Therefore, we conclude that the district court did
23           not apply an incorrect legal standard in this case.
24   Nat’l Wildlife Fed’n, 422 F.3d at 794 (citation omitted; emphasis added).

25           Under governing Supreme Court and Ninth Circuit precedent, this Court’s consideration of

26   Intervenors’ arguments and declarations alleging economic harms is, at a minimum, constrained.

27   The challenged declarations allege various economic harms that may (or may not) ultimately flow

28   from reduced water supply allocations to and water diversions by water contractors, should
                          PLS.’ NOTICE OF MOTION AND MOTION TO STRIKE; MEM. OF POINTS & AUTH.
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 1   injunctive relief necessary to avoid jeopardy to ESA-listed species be granted. But once it is clear

 2   that maintenance of the status quo would result in irreparable harm to listed species, the ESA

 3   clearly tips the balance of the equities in favor of species protection. See Cottonwood Env’t L. Ctr.

 4   v. U.S. Forest Serv., 789 F.3d 1075, 1090 (9th Cir. 2015) (“There is no question, as firmly

 5   recognized by the Supreme Court, that the ESA strips courts of at least some of their equitable

 6   discretion in determining whether injunctive relief is warranted.”). That is because preserving an

 7   endangered species has “incalculable” value, id. (quoting Tenn. Valley Auth., 437 U.S. at 187–88),

 8   “regardless of the expense or burden it[] might impose,” Nat’l Ass’n of Home Builders v. Defs. of

 9   Wildlife, 551 U.S. 644, 671 (2007).

10           Here, the challenged declarations and portions of declarations proffered by Intervenors

11   allege various economic harms that Intervenors suggest should be considered in assessing

12   Plaintiffs’ proposed injunctive relief. Specifically, they argue that requiring Federal Defendants to

13   ensure that coordinated operations of the Central Valley Project and State Water Project do not

14   jeopardize ESA-listed species might result in economic harm. But Intervenors’ claimed economic

15   harms are irrelevant to the Court’s weighing of the equities under the ESA and therefore

16   inadmissible. See Fed. R. Evid. 402 (“Evidence which is not relevant is not admissible.”).

17   Inundating the Court with such declarations does not change this legal standard. 4

18                                                         ***

19           Accordingly, and for the foregoing reasons, the Court should strike the declarations,

20   portions of declarations, and the briefing that relies on these declarations, as set forth in

21   particularity in the Notice of Motion and in notes 1-3 above.

22                                                   Respectfully submitted,
23
     Dated: January 24, 2022                          /s/ Barbara J. Chisholm                   .
24
     4
25     Even if the Court could permissibly consider economic impacts (which it cannot), Intervenors
     present a distorted assessment of those impacts and ignore the long-standing effects of Water
26   Project operations on coastal salmon fisheries, as the case cited by Intervenors recognized. See
     Consolidated Salmonid Cases, 713 F. Supp. 2d 1116, 1169 (E.D. Cal. 2010) (“Even if it is
27   permissible to balance harm to humans and the human environment against Congress’ stated
     desire to protect the Listed Species, doing so in practice is complicated by the harm caused to
28   other human communities by the reduced abundance of salmonids, such as to the salmon fishing
     industry and the Winnemem Wintu Tribe.”).
                          PLS.’ NOTICE OF MOTION AND MOTION TO STRIKE; MEM. OF POINTS & AUTH.
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                                              4              CASE NO. 1:20-CV-00431-DAD-EPG
     Case 1:20-cv-00431-DAD-EPG Document 367 Filed 01/24/22 Page 8 of 8


 1                                         PROOF OF SERVICE

 2    CASE:         Pacific Coast Federation of Fishermen’s Associations, et al. v. Raimondo, et al.

 3    CASE NO:      U.S. Dist. Ct., E.D. Cal., Case No. 1:20-cv-00431-DAD-EPG

 4          I am employed in the City and County of San Francisco, California. I am over the age of
 5    eighteen years and not a party to the within action; my business address is 177 Post Street, Suite
 6
      300, San Francisco, California 94108. I hereby certify that on January 24, 2022, I electronically
 7
      filed the following with the Clerk of the Court for the United States District Court for the Eastern
 8
      District by using the CM/ECF system:
 9

10
        PLAINTIFFS’ NOTICE OF MOTION AND MOTION TO STRIKE INTERVENORS’
                    DECLARATIONS REGARDING ECONOMIC HARM
11

12            All participants in the case are registered CM/ECF users and will be served by the

13    CM/ECF system.

14          I declare under penalty of perjury under the laws of the State of California that the
15
      foregoing is true and correct. Executed this 24th day of January, 2022, at Berkeley, California.
16

17                                                         /s/ Barbara J. Chisholm
                                                             Barbara J. Chisholm
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                                                                                    PROOF OF SERVICE
                                                     1               CASE NO. 1:20-CV-00431-DAD-EPG
